            Case 2:19-bk-50253                      Doc 55          Filed 12/01/20 Entered 12/01/20 14:47:24                                Desc Main
   Fill in this information to identify the case:                   Document     Page 1 of 3
Debtor 1                 Stephani A Mitchell
                         _____________________________________________________________________


Debtor 2                 _____________________________________________________________________
(Spouse, if filing)

                                        Southern District of Ohio
United States Bankruptcy Court for the: ______________________________________________________________________________________________________

             1950253
Case number __________________________



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                                     12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
 debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
 as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
 Name of creditor:                                                                                                             16
                                                                                                   Court claim no. (if known): _______________________
 Wells Fargo Bank, N.A.




                                                                                                   Date of payment change:
                                                                                                   Must be at least 21 days after date
                                                                                                   of this notice                           01/01/2021
                                                                                                                                            _____________


                                                                                                  New total payment:
                                                                                                                                             906.65
                                                                                                                                            $________________
                                                                                                  Principal, interest, and escrow, if any
 Last 4 digits of any number you use to
 identify the debtor’s account:                                      7 ____
                                                                    ____ 1 ____
                                                                            3 ____
                                                                                9

   Part 1:            Escrow Account Payment Adjustment

  1.        Will there be a change in the debtor’s escrow account payment?

            
            ✔   No
               Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
                for the change. If a statement is not attached, explain why:



                Current escrow payment: $ _________________                                                 New escrow payment: $ _________________

  Part 2:             Mortgage Payment Adjustment

  2.        Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
            variable-rate account?
            
            ✔   No
               Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why:



                Current interest rate: __________________%                                      New interest rate: __________________%

                Current principal and interest payment: $ __________________                    New principal and interest payment: $ __________________

  Part 3:             Other Payment Change


       3.    Will there be a change in the debtor’s mortgage payment for a reason not listed above?
                 No
             ✔
                 Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                  (Court approval may be required before the payment change can take effect.)
                Reason for change:
                Payment change resulting from a decrease in premium for Mortgage Insurance



                                                   909.05
                      Current mortgage payment: $ _________________                                                        906.65
                                                                                                   New mortgage payment: $ _________________
 Official Form 410S1                                                    Notice of Mortgage Payment Change                                             page 1
                Stephani A Mitchell                                                                   1950253
     Case
      Debtor 12:19-bk-50253                 Doc 55 Filed      12/01/20 EnteredCase
                 ________________________________________________________
                 First Name         Middle Name     Last Name
                                                                                 12/01/20       14:47:24
                                                                                   number (if known)             Desc Main
                                                                                                     ______________________
                                                   Document          Page 2 of 3
 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 Check the appropriate box.

    
    ✔   I am the creditor.

       I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.




     /s/Angela M. Mills-Fowler
      ______________________________________________________________
      Signature
                                                                                      12/01/2020
                                                                                Date _______________




 Print:______________________________________________________________
        FOWLER,ANGELA M. MILLS                                                   VP Loan Documentation
                                                                                ____________________________________________________________
        First Name            Middle Name             Last Name                 Title


 Company Wells Fargo Bank, N.A.
         ____________________________________________________________

 Address    MAC N9286-01Y
            _____________________________________________________________
            Number                  Street

            1000 Blue Gentian Road
            _____________________________________________________________
            Address 2

             Eagan                                   MN      55121-7700
            _____________________________________________________________
              City                                      State        ZIP Code



                     800-274-7025                                                NoticeOfPaymentChangeInquiries@wellsfargo.com
 Contact phone _________________________                                        ____________________________________________________________
                                                                                Email




Official Form 410S1                                     Notice of Mortgage Payment Change                                              page 2
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                                                        Southern District of Ohio


                                                     Chapter 13 No. 1950253
                                                     Judge: C. Kathryn Preston

In re:
Stephani A Mitchell
                                           Debtor(s).

                                           CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before December 02, 2020 via filing with the US
Bankruptcy Court's CM ECF system or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid or FedEx.


Debtor:                             By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                     Stephani A Mitchell
                                     6356 Riverstone Drive

                                     Columbus OH 43228



                                    By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                     N/A




Debtor’s Attorney:                   By Court's CM/ECF system registered email address
                                     Jetta Mencer

                                     P.O. Box 1115

                                     Columbus OH 43216


                                     By Court's CM/ECF system registered email address
                                     N/A




Trustee:                             By Court's CM/ECF system registered email address
                                     Edward A. Bailey
                                     Chapter 13 Trustee
                                     130 E. Wilson Bridge Road Suite 200

                                     Worthington OH 43085

                                                          _______________________________________________
                                                          /s/Angela M. Mills-Fowler
                                                           VP Loan Documentation
                                                           Wells Fargo Bank, N.A.
